                          Case 14-50333-gs                  Doc 117           Entered 07/14/14 11:13:45                   Page 1 of 3



                     1   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     2   Law Offices of Alan R. Smith
                         505 Ridge Street                                                                       ELECTRONICALLY FILED
                     3   Reno, Nevada 89501                                                                        July 14, 2014
                         Telephone (775) 786-4579
                     4   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                     5   Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                      UNITED STATES BANKRUPTCY COURT
                 10                                                        DISTRICT OF NEVADA
                 11                                                                    —ooOoo—
                 12      In Re:                                                                  Case No. BK-N-14-50333-BTB
                                                                                                 Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                                      Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                              [Jointly Administered]
                 15      AT EMERALD, LLC,                                                        EX PARTE MOTION TO FILE ORDER
                                                                                                 ON MOTION TO SELL UNDER SEAL
                 16                            Debtors.
                 17      ______________________________/
                 18                 Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
                 19      Emerald” or “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the
                 20      Law Offices of Alan R. Smith, hereby files its Ex Parte Motion to File Order on Motion to
                 21      Sell Under Seal (“Motion”). This Motion is made and based upon Federal Rule of
                 22      Bankruptcy Procedure 9018, Local Rule 9018, the points and authorities set forth below, the
                 23      pleadings and papers on file herein, and such other matters as may be presented at the hearing
                 24      hereon.
                 25                                                  POINTS AND AUTHORITIES
                 26                 A.         Background.
                 27                 On June 23, 2014, the Debtor filed its Motion To Sell Assets Free And Clear Of Liens
                 28      And Motion to File Purchase and Sale Agreement Under Seal (the “Motion to Sell”). The
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\AT Emerald\Mot Sell\Mot File PSA Under Seal\Mot File Ord Mot Sell Under Seal 071414 hee.wpd
                          Case 14-50333-gs                  Doc 117           Entered 07/14/14 11:13:45                   Page 2 of 3



                     1   Motion to Sell sought authority for the Debtor to sell its only asset, a 21,000 carat emerald
                     2   (the “Emerald”).
                     3              Attached to the Motion to Sell as Exhibit “A” is a fully executed copy of the
                     4   Purchase And Sale Agreement (hereinafter the “Agreement”). Under the Agreement, the
                     5   purchaser agrees to purchase the Emerald for cash, payable at close of escrow. Pursuant to
                     6   the Agreement, both parties have requested that the purchase price not be disclosed in any
                     7   public document, but be filed with the Court under seal.
                     8              As set forth in the Sale Motion, the purchase price is sufficient to pay all creditors in
                     9   this case, as well as all creditors in the companion case of ANTHONY THOMAS and
                 10      WENDI THOMAS, Case No. BK-N-14-50333-BTB (the “Thomas Bankruptcy Case”) in
                 11      full. The purchase price is to be paid in cash, within three days following entry of an order
                 12      approving the sale or three days following the inspection and acceptance of the Emerald by
                 13      the purchaser.
                 14                 Anthony and Wendi Thomas request that the purchase price remain undisclosed. As
                 15      set forth in 11 U.S.C. § 107(c), information need not be disclosed if it would create undue
                 16      risk of unlawful injury to the individual. As stated in Collier on Bankruptcy, ¶ 107.04 (16th
                 17      ed.),
                 18                            Section 107(c) gives the court broad discretion to protect an
                                               individual with respect to any information, including identifying
                 19                            information, in a paper filed or to be filed with the court to the
                                               extent that the court finds that disclosure of the information
                 20                            would create an undue risk of identify theft or unlawful injury
                                               to the individual or the individual’s property.
                 21
                                               ...
                 22
                                               Unlike section 107(b), section 107(c) requires a showing of
                 23                            cause. It does not require a request to the court; although most
                                               orders under the section will be initiated in that manner, the
                 24                            court can act sua sponte. There is also no requirement that a
                                               request be made by a party in interest. However, the protection
                 25                            of the subsection extends only to individuals, and only to
                                               prevent injury to the person or property of individuals.
                 26
                 27      In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
                 28      Anthony and Wendi Thomas and is not necessary. The Debtor requests that the Order on
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579                                                                              -2-
                         H:\AT Emerald\Mot Sell\Mot File PSA Under Seal\Mot File Ord Mot Sell Under Seal 071414 hee.wpd
                          Case 14-50333-gs                  Doc 117           Entered 07/14/14 11:13:45                   Page 3 of 3



                     1   Motion to Sell be filed under seal. Debtor will submit a non-redacted copy of the Order on
                     2   Motion to Sell with the Court under seal.
                     3                                                             CONCLUSION
                     4              Accordingly, in order to keep the purchase price undisclosed the amount to be set
                     5   aside in the Law Offices of Alan R. Smith trust account sufficient to pay all creditors, as well
                     6   as federal capital gains taxes in full has been redacted from the Order on Motion to Sell, and
                     7   the Debtor requests that the set aside amount remain confidential, so as to keep the sale price
                     8   confidential. The sale is for a value far in excess of all secured and unsecured claims of both
                     9   this estate and the Thomas Bankruptcy Case. It is in the best interests of the individual
                 10      Debtors, Anthony and Wendi Thomas, that the purchase price remain confidential as
                 11      disclosure of the actual purchase price poses a risk to the individual Debtors and is not
                 12      necessary.
                 13                 DATED this 14rd day of July, 2014.
                 14                                                                       LAW OFFICES OF ALAN R. SMITH
                 15                                                                       By:     /s/ Holly E. Estes
                                                                                            HOLLY E. ESTES, ESQ.
                 16                                                                         Attorney for Debtors
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579                                                                              -3-
                         H:\AT Emerald\Mot Sell\Mot File PSA Under Seal\Mot File Ord Mot Sell Under Seal 071414 hee.wpd
